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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CATHERINE MCKOY, MILLARD WILLIAMS,                               Case No. 1:18-cv-09936 (LGS)
MARKUS FRAZIERA, and LYNN CHADWICK,
individually and on behalf of all
others similarly situated,                                       DECLARATION OF
                                                                 JOANNA C. HENDON
                                Plaintiffs,                      IN SUPPORT OF NOTICE
                                                                 OF WITHDRAWAL
                -against-

THE TRUMP CORPORATION, DONALD J.
TRUMP, in his personal capacity,
DONALD TRUMP JR., ERIC TRUMP, and
IVANKA TRUMP,

                                Defendants.


        I, Joanna C. Hendon, declare and state as follows:

        1.      On January 14, 2019, I filed a Notice of Appearance (ECF No. 61) on behalf of

all defendants in this matter (“Defendants”).

        2.      On August 5, 2021, Robert & Robert PLLC by Clifford S. Robert and Michael

Farina appeared in this action as counsel of record for the Defendants “in the place of stead of

their former counsel, Alston & Bird LLP, 90 Park Avenue, New York, NY 100165, by Joanna C.

Hendon.” A copy of the Stipulation and [Proposed] Order Substituting Counsel and Permitting

Withdrawal of Counsel (ECF No. 329) (the “Stipulation”) is annexed hereto as Exhibit 1.1

        3.      Clifford S. Robert and Michael Farina of Robert & Robert PLLC filed notices of

appearance on August 5, 2021 (ECF Nos. 316-17) and have represented Defendants in this action

since August 5, 2021.


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 The Stipulation was filed with the Court on September 10, 2021, and the application to withdraw was denied
without prejudice to renewal (ECF No. 332).
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        4.     Defendants also retained Peter T. Shapiro of Lewis Brisbois Bisgaard & Smith

LLP, who filed a notice of appearance in this action on August 10, 2021 (ECF No. 318), and has

represented Defendants in this action since August 10, 2021.

        5.     I have not represented Defendants since August 5, 2021, when Defendants

engaged new counsel to represent them in this matter. Therefore, pursuant to Local Civil Rule

1.4, I respectfully request leave of the Court to withdraw my individual appearance as counsel

for Defendants.

        6.     Defendants will continue to be represented by Clifford S. Robert and Michael

Farina of Robert & Robert PLLC, and Peter T. Shapiro of Lewis Brisbois Bisgaard & Smith

LLP.

        7.     This withdrawal will not affect this action in any way, including the posture of the

case and the calendar. Nor will this withdrawal prejudice the Plaintiffs.

        8.     Neither I nor Alson & Bird LLP are asserting a charging or retaining lien against

any of the Defendants.

        9.     I am causing this motion, including all of the papers submitted with the motion, to

be served on Defendants and all parties.

Dated: New York, New York
       May 4, 2022

                                                             By: /s/ Joanna C. Hendon
                                                                Joanna C. Hendon
